935 F.2d 268Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Earl RICHARDSON, Plaintiff-Appellant,v.A. Wayne BRYANT, Scotland County Sheriff, Lee Hecht, DeputySheriff, John Doe, Owner, Johnny's Wrecker and Towing Serv.,North Carolina House of Representatives, North CarolinaSenate, James G. Martin, Governor, Lacy H. Thornburg,Defendants-Appellees.
    No. 91-6549.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 6, 1991.Decided May 31, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-91-71-CRT-H)
      Robert Earl Richardson, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Earl Richardson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Richardson v. Bryant, CA-91-71-CRT-H (E.D.N.C. Mar. 22, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    